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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                      280 South 1st Street
                                      San Jose, CA 95113
                                    ___________________
                                      www.cand.uscourts.gov

Mark B. Busby                                                                 General Court Number
Clerk of Court                                                                        408-535-5363

                                         June 28, 2023



Superior Court of California, County of San Francisco
400 McAllister Street, Room 103
San Francisco, CA 94102.4514

RE: Jason Kiang v. Nationwide Life and Annuity Insurance Company, et al.
        23-cv-02073-JSC

Your Case Number: CGC-23-605387

Dear Clerk,

       Pursuant to an order remanding the above captioned case to your court, please find
enclosed a certified copy of docket entries and the remand order.
       Please send an acknowledgement of receipt of these documents to
susie_barrera@cand.uscourts.gov.

                                                              Sincerely,

                                                              Mark B. Busby, Clerk


                                                              _________________________
                                                              by: Susie Barrera
                                                              Case Systems Administrator
